                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                                CASE NO. 5:23-cv-00003


ERIC KARCHMER,

                      Plaintiff,

     v.
                                                             MOTION TO WITHDRAW
APPALACHIAN STATE UNIVERSITY and                                 AS COUNSEL
SHERI EVERTS Chancellor of Appalachian
State University, in her official capacity,

                      Defendants.



          NOW COMES Bruce L. Kaplan, counsel for Plaintiff Eric Karchmer in this matter,

and pursuant to Local Civil Rule 83.1(f), respectfully moves the Court to allow him to

withdraw as counsel for Plaintiff. Counsel also moves for a temporary stay to allow Plaintiff

to find new counsel and, pursuant to Federal Rule of Civil Procedure 6(b), for an extension

of time for Plaintiff to respond to Defendants’ pending Motion to Dismiss [DE 10]. In

support of this Motion, the undersigned shows unto the Court as follows:

          1.      Counsel seeks to withdraw as counsel of record for Plaintiff because a conflict

has developed between counsel and Plaintiff such that counsel believes the representation can

no longer continue.

          2.      Counsel has informed Plaintiff that counsel believes a conflict has developed

in the representation such that the representation can no longer continue.

          3.      Plaintiff has provided his written consent to the proposed withdrawal as

counsel.       The Affidavit of Eric Karchmer is being filed contemporaneously with this

motion.

          4.      Plaintiff Eric Karchmer’s last known address is 20957 Hwy. 88 West,

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Creston, NC 28615-8903.

       5.       Counsel also seeks a fourteen day stay of this matter to allow Plaintiff time to

retain new counsel

       6.       Counsel also seeks an extension of time such that the deadline for Plaintiff to

respond to the Defendants’ motion to dismiss and to submit his supporting memorandum of

law be extended for an additional thirty days, through and including May 2, 2023.

       7.       Counsel has consulted with Defendants’ counsel, who consents to this

motion.

       8.       Good cause exists for this motion and neither Plaintiff nor Defendants will be

prejudiced if the motion is granted.

       WHEREFORE, the undersigned prays that the Court:

       1) Enter an order allowing Bruce L. Kaplan to withdraw as counsel for Plaintiff Eric

             Karchmer;

       2) Stay this matter for fourteen days in order for Plaintiff Eric Karchmer to retain

             new counsel;

       3) Extend the deadline for Plaintiff to respond to the Defendants’ motion to dismiss

             and to submit his supporting memorandum of law for an additional thirty days,

             through and including May 2, 2023; and

       4) For such other and further relief as the Court deems just and proper.

            This 31st day of March, 2023.

                                              BRUCE L. KAPLAN, ATTORNEY AT LAW

                                              BY: /s/ Bruce L. Kaplan
                                                  BRUCE L. KAPLAN
                                                  N.C. State Bar No. 9900
                                                  P.O. Box 455
                                                  Boone, NC 28607
                                                  Tel.: 828-264-7652
                                                  Fax: 828-264-5637
                                                  Bruce.kaplan@att.net

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                             CERTIFICATE OF SERVICE

         I hereby certify that on the 31st day of March, 2023, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, which will send notice of such
filing to the following:

                            Anne Phillips Martin
                            Assistant Attorney General
                            amartin@ncdoj.gov
                            North Carolina Department of Justice
                            PO Box 629
                            Raleigh, NC 27602
                            Tel: 919-716-6920
                            Fax: 919-716-6764
                            Counsel for Defendants


                                           BRUCE KAPLAN, ATTORNEY AT LAW

                                           BY: /s/ Bruce L. Kaplan
                                               BRUCE L. KAPLAN
                                               N.C. State Bar No. 9900
                                               P.O. Box 455
                                               Boone, NC 28607
                                               Tel.: 828-264-7652
                                               Fax: 828-264-5637
                                               Bruce.kaplan@att.net




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